Case 1:18-cv-05391-SCJ Document 805-4 Filed 04/26/22 Page 1 of 5




           EXHIBIT B
       Case 1:18-cv-05391-SCJ
            1:20-cv-04651-SDG Document
                              Document805-4
                                       64 Filed
                                             Filed
                                                11/24/20
                                                   04/26/22Page
                                                             Page
                                                                1 of
                                                                   2 102
                                                                     of 5
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 1                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
 2                           ATLANTA DIVISION

 3
     L. LIN WOOD, JR.                   )
 4                                      )          Docket Number
                         Plaintiff,     )          1:20-CV-4651-SDG
 5                                      )
                    v.                  )
 6                                      )          Atlanta, Georgia
     BRAD RAFFENSPERGER, in his         )          November 19, 2020
 7   Official Capacity as Secretary of )
     State of the State of Georgia;     )
 8   REBECCA N. SULLIVAN, in her        )
     Capacity as Vice Chair of the      )
 9   Georgia State Election Board;      )
     DAVID J. WORLEY, in his Capacity   )
10   as a Member of the Georgia State   )
     Election Board; MATTHEW MASHBURN, )
11   in his Official Capacity as a      )
     Member of the Georgia State        )
12   Election Board; ANH LE, in her     )
     Official Capacity as a Member of   )
13   the Georgia Election Board         )
                                        )
14                                      )
                         Defendants     )
15                                      )
                    v.                  )
16                                      )
     DEMOCRATIC PARTY OF GEORGIA, INC., )
17   Democratic Party of Georgia; DSCC; )
     DCCC; GEORGIA STATE CONFERENCE OF )
18   THE NAACP; GEORGIA COALITION FOR   )
     THE PEOPLES' AGENDA, INC.; HELEN   )
19   BUTLER; JAMES WOODALL; and MELVIN )
     IVEY                               )
20                                      )
               Intervenor Defendants    )
21

22
            TRANSCRIPT OF PLAINTIFF'S EMERGENCY MOTION FOR
23                    TEMPORARY RESTRAINING ORDER
               BEFORE THE HONORABLE STEVEN D. GRIMBERG
24                   UNITED STATES DISTRICT JUDGE

25
      Case
      Case1:20-cv-04651-SDG
           1:18-cv-05391-SCJ Document 805-4
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                                                11/24/20
                                                   04/26/22
                                                          Page
                                                            Page
                                                               51 of
                                                                  3 of
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 1   the Court supporting that, nor any cognizable argument that that

 2   has happened.

 3                And, finally, as Ms. McGowan said, in terms of the

 4   plaintiff's apples-to-oranges comparison, he's comparing the

 5   totality of the absentee-ballot rejections from 2018.           As our

 6   brief response makes clear, the General Assembly made a policy

 7   decision following the 2018 election to change the evaluation of

 8   absentee ballots partially due to identity theft concerns and the

 9   fact that voters felt uncomfortable putting their date of birth

10   on the outside of the envelope.      The General Assembly took that

11   off the outer envelope where it was no longer visible to anyone

12   during the mail transmission.      That resulted in a significant

13   decrease in the percentage of absentee ballots that were rejected

14   at the outset.   There were quite a number in 2018 that were

15   rejected for that missing information.

16                In terms of when you actually do an apples-to-apples

17   comparison - and it is referenced in Chris Harvey's affidavit

18   that we will be moving into evidence, it's an exhibit in our

19   brief response - when you actually look at ballots from 2018 that

20   were rejected signature match and you look at ballots from 2020,

21   after the cure period, those numbers are identical in terms of --

22                MR. SMITH:    Your Honor, if he continues on he's going

23   to become a fact witness.

24                MR. WILLARD:    I am referencing what is in our

25   affidavit, Your Honor.     It is in our brief response, as well.           I
      Case
       Case1:20-cv-04651-SDG
            1:18-cv-05391-SCJ Document
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 1   UNITED STATES DISTRICT COURT

 2   NORTHERN DISTRICT OF GEORGIA

 3   CERTIFICATE OF REPORTER

 4

 5              I do hereby certify that the foregoing pages are a

 6   true and correct transcript of the proceedings taken down by me

 7   in the case aforesaid.

 8

 9                          This the 23rd day of November, 2020.

10

11                                             /S/ Alicia B. Bagley
                                               ALICIA B. BAGLEY, RMR, CRR
12                                             OFFICIAL COURT REPORTER
                                               (706) 378-4017
13

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        Case
        Case 1:18-cv-05391-SCJ
             1:20-cv-04651-SDG Document
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                                              Filed 11/24/20
                                                    04/26/22 Page
                                                             Page 15 of
                                                                     of 15


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                               )
L. LIN WOOD, JR.
______________________________,                )
                           Plaintiff(s)        )
                                               )      Case No. 1:20-CV-4651-SDG
                V.                             )
                                               )
BRAD RAFFENSPERGER, et al.
______________________________,                )
                      Defendant(s)             )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
days from the date of delivery of the transcript to the Clerk to file with the Court a Request for
Redaction of this transcript. If no Request for Redaction is filed, the transcript may be made
remotely electronically available to the public without redaction after 90 calendar days.

       Any counsel or party needing a copy of the transcript to review for redaction purposes
may purchase a copy from the court reporter/transcriber or view the document at the Clerk’s
Office public terminal.
                 11/24/2020
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                        Date                          Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:       TRO
                              ______________________________________________
                              ______________________________________________
       Proceeding Date:       11-19-20
                              ______________________________________________
                              ______________________________________________
       Volume Number:         1
                              ______________________________________________
                              ______________________________________________

      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): Ray Smith, Emilie Denmark, Susan Coppedge

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

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                                          __________________________________
                        Date                           Court Reporter
